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             IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                        NO. 4:12CR00014-006 SWW

KIMBERLY RENEE COLEMAN




                                   ORDER

      Pending before the Court is government's motion for dismissal of the

indictment in the above-styled case, due to the death of the defendant.

      IT IS SO ORDERED that the government’s motion [doc #262] for

dismissal of the indictment against the above-named defendant be granted,

and the indictment pending against defendant Kimberly Renee Coleman

hereby is dismissed.

      DATED this 23rd day of May 2012.

                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
